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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LAVEL HUNTER,                                          )
                                                       )
                               Plaintiff,              )
       v.                                              ) Case No. 08 C 7467
                                                       )
JOHN ORMOND, MICHAEL GARZA,                            ) Judge George W. Lindberg
BRIAN HOOD, JEFFREY MAYER,                             )
GENELLE MICHON, and CITY OF                            ) Magistrate Judge Nan R. Nolan
CHICAGO,                                               )
                                                       )
                               Defendants.             )

                                 JOINT PRETRIAL ORDER

       This matter having come before the court at a pretrial conference held pursuant to

Fed. R.Civ. P. (“Rule”) 16, at which Irene K. Dymkar, 300 W. Adams, Suite 330, Chicago,

IL 60606, (312) 345-0123, having appeared as counsel for Plaintiff, Lavel Hunter, and

Richard B. Levy, Frank P. Nowicki, Brian P. Gainer, Alexandria Bell, Timothy B. Young,

and Reiko Satoh, Johnson & Bell, Ltd., 33 W. Monroe Street., Suite 2700, Chicago, IL

60603, (312) 372-0770, having appeared as counsel for Defendants, John Ormond, Michael

Garza, Brian Hood, Jeffrey Mayer, Genelle Michon, and City of Chicago, and said counsel

submitted the following:

       1.      This is an action brought pursuant to 42 U.S.C. § 1983 for redress of alleged
               violations of Plaintiff Lavel Hunter’s civil rights. The jurisdiction of the court
               is invoked under 28 U.S.C. §1331 and §1343. Jurisdiction is not disputed.

       2.      The following stipulations and statements were submitted and are attached to
               and made a part of this Order:

            (a) a comprehensive stipulation or statement of all uncontested facts, which will
                become a part of the evidentiary record in the case and which, in jury trials,
                may be read to the jury by the court or any party;
                See attached Exhibit A.

            (b) for jury trials a short agreed description of the case to be read to prospective
                jurors:
                See attached Exhibit B.
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         (c) except for rebuttal exhibits, schedules in the form set out in the attached
             Schedule C of–

                (1) all exhibits (all exhibits shall be marked for identification before
                trial), including documents, summaries, charts and other items expected to
                be offered in evidence, and

                (2) any demonstrative evidence and experiments to be offered during
              trial;
             See attached Exhibit C (Plaintiff’s exhibits) and Exhibit D (Defendants’
             exhibits).

         (d) a list or lists of names and addresses of the potential witnesses to be called
             by each party, with a statement of any objections to calling, or to the
             qualifications of, any witness identified on the list;
             See attached Schedules E (Plaintiff’s witnesses) and Exhibit F
             (Defendants’ witnesses).

         (e) stipulations or statements setting forth the qualifications of each expert
             witness in such form that the statement can be read to the jury at the time the
             expert witness takes the stand;
             There are no experts in this case.

         (f) a list of all depositions, and designated page and line numbers, to be read into
             evidence and statements of any objections thereto;
             At the present time, the parties do not anticipate reading any deposition
             testimony into evidence, but reserve their respective rights to do so if a
             witness who has been deposed in this action becomes unavailable for
             trial. Depositions and portions thereof will be used as necessary to
             impeach and/or refresh the recollection of any witnesses called at trial
             pursuant to the Federal Rules of Evidence.

         (g) an itemized statement of damages:
             Plaintiff claims compensatory damages for emotional distress and pain
             and suffering in an amount to be ascertained by the jury.

             Plaintiff claims punitive damages in an amount to be ascertained by the
             jury.

         (h) for a jury trial, each party shall provide the following:

             (i) trial briefs except as otherwise ordered by the court;
             The parties have previously filed briefs pertaining to plaintiff’s
             summary judgment motion and they ask the court to consider those
             briefs at trial, in addition to any trial briefs which the parties may file.



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              (ii) one set of marked proposed jury instructions, verdict forms and special
              interrogatories, if any;
              The court is not requiring jury instructions to be submitted at this time.

              (iii) a list of the questions the party requests the court to ask prospective
              jurors in accordance with Fed. R. Civ. P. 47(a);
              See attached Exhibit G (Plaintiff’s proposed voir dire) and Exhibit H
              (Defendants’ proposed voir dire).

         (i) a statement that each party has completed discovery, including the
             depositions of expert witnesses (unless the court has previously ordered
             otherwise). Absent good cause shown, no further discovery shall be
             permitted.
              All discovery has been completed.

         (j) subject to full compliance with all the procedural requirements of Rule
             37(a)(2), a brief summary of intended motions in limine. Any briefs in
             support of and responses to such motions shall be filed as directed by the
             Court.
              Motions in limine are being separately filed.

         (k) an agreed statement or statements by each party of the contested issues of
             fact and law and a statement or statements of contested issues of fact or law
             not agreed to (optional);
              Parties are not presenting a statement of the contested issues of fact and
              law.

         (l) waivers of any claims or defenses that have been abandoned by any party;
              No claims or defenses have been abandoned.

      3. Trial of this case is expected to take 4 days. It will be listed on the trial calendar,
         to be tried when reached.

      4. [X] Jury [_] Non-jury

      5. The parties recommend that 12 jurors be selected at the commencement of trial.

      6. The parties agree that the issues of liability and damages should not be bifurcated
         for trial.

      7. The parties do not consent to this case being reassigned to a magistrate judge for
         trial.

      8. This Order will control the course of the trial and may not be amended except by
         consent of the parties and the court, or by order of the court to prevent manifest
         injustice.


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       9. The possibility of settlement of this case was considered by the parties. A
          demand was made by plaintiff. No offer was made by defendants.




Date:____________________                   __________________________________
                                                  Hon. George W. Lindberg
                                                  United States District Judge



APPROVED AS TO FORM AND SUBSTANCE:

Date: February 9, 2011

 /s/ Irene K. Dymkar                               /s/   Brian P. Gainer

IRENE K. DYMKAR (Lead Counsel)                   RICHARD B. LEVY (Lead Counsel)
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